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     Attorneys for Plaintiff
 5 TIMOTHY DAWSON
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 7
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11
                                                      Case No.: 2:19-cv-00201-DMG-KS
12
13                                                    NOTICE OF SETTLEMENT
     TIMOTHY DAWSON,
14
                       Plaintiff,
15
            vs.
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17
     SYNCHRONY BANK,
18                                                    Judge: Hon. Dolly M. Gee
19                                                    Magistrate: Hon. Karen L. Stevenson
                    Defendant(s),
20
21
22 TO THE HONORABLE COURT, TO ALL PARTIES HEREIN, AND TO THEIR
23 RESPECTIVE COUNSEL OF RECORD: PLEASE TAKE NOTICE that Plaintiff
24 has settled his claims as to all Defendants, subject to a confidential agreement.
25
26         Plaintiff TIMOTHY DAWSON and Defendant SYNCHRONY BANK intend
27 to file a joint motion for dismissal with prejudice as to all Defendants within thirty
28 (30) days or less. In light of the settlement, Plaintiff requests the Court take off
                                                 -1-
                                         Notice of Settlement
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 1 calendar all future hearings and deadlines in this case.

 2
 3 Dated: March 4, 2019                             by: /s/ Ahren A. Tiller
                                                        Ahren A. Tiller
 4                                                      BLC Law Center, APC
                                                        Attorney(s) for Plaintiff
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                                        Notice of Settlement
